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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION

          J.E.C.M., et al.,                          .        Civil Action No. 1:18cv903
                                                     .
                  Plaintiffs/Petitioners,            .
                                                     .
                  vs.                                .        Alexandria, Virginia
                                                     .        November 22, 2019
          JONATHAN HAYES, Director,                  .        10:07 a.m.
          Office of Refugee                          .
          Resettlement, et al.,                      .
                                                     .
                  Defendants/Respondents.            .
                                                     .
          .   .   .     .   .   .   .   .    .   .   .

                                 TRANSCRIPT OF MOTIONS HEARING
                            BEFORE THE HONORABLE LEONIE M. BRINKEMA
                                  UNITED STATES DISTRICT JUDGE

          APPEARANCES:

          FOR THE PLAINTIFFS/                        REBECCA R. WOLOZIN, ESQ.
              PETITIONERS:                           SIMON SANDOVAL-MOSHENBERG, ESQ.
                                                     Legal Aid Justice Center
                                                     6066 Leesburg Pike, Suite 520
                                                     Falls Church, VA 22041
                                                       and
                                                     DALLIN G. GLENN, ESQ.
                                                     Sterne, Kessler, Goldstein &
                                                     Fox PLLC
                                                     1100 New York Avenue, N.W.
                                                     Washington, D.C. 20005


          FOR THE DEFENDANTS/                        DENNIS C. BARGHAAN, JR., AUSA
              RESPONDENTS:                           CATHERINE M. YANG, AUSA
                                                     JEFFREY A. HALL, SAUSA
                                                     United States Attorney's Office
                                                     2100 Jamieson Avenue
                                                     Alexandria, VA 22314


          ALSO PRESENT:                              KATRINA HODGES, ESQ.

                                            (Pages 1 - 25)

                      COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES



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     1    OFFICIAL COURT REPORTER:           ANNELIESE J. THOMSON, RDR, CRR
                                             U.S. District Court, Third Floor
     2                                       401 Courthouse Square
                                             Alexandria, VA 22314
     3                                       (703)299-8595

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     1                             P R O C E E D I N G S

     2                THE CLERK:    Civil Action 18-903, J.E.C.M., et al.

     3    versus Jonathan Hayes, Director, Office of Refugee

     4    Resettlement, et al.      Would counsel please note your

     5    appearances for the record.

     6                THE COURT:    Mr. Barghaan, you've got so much paper

     7    there, I don't know what -- we're not trying the case.

     8                MR. BARGHAAN:    It's pretty much all that I do now,

     9    Your Honor.    It's some sort of manual labor.

    10                THE COURT:    All right, counsel, do you want to

    11    identify yourselves for the record, please?

    12                MS. WOLOZIN:    Good morning, Your Honor.            My name is

    13    Becky Wolozin; I'm with Legal Aid Justice Center; and my

    14    cocounsel, Dallin Glenn, is with Sterne, Kessler, Goldstein &

    15    Fox; and Simon Sandoval-Moshenberg is also with Legal Aid

    16    Justice Center.

    17                THE COURT:    Good morning.

    18                MS. WOLOZIN:    And just for Your Honor's knowledge,

    19    I'm prepared to discuss the due process claims, and my

    20    cocounsel will discuss the claims related to the ICE sharing

    21    policy.

    22                THE COURT:    All right.

    23                MS. WOLOZIN:    Thank you.

    24                THE COURT:    And for the defense?

    25                MS. YANG:    Good morning, Your Honor.           Catherine Yang




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     1    from the U.S. Attorney's Office, on behalf of the government.

     2    With me today are my colleagues, Dennis Barghaan and Jeffrey

     3    Hall.   Along with us we have agency counsel from the Department

     4    of Health and Human Services, Katrina Hodges.

     5                THE COURT:   All right.     Well, what we have on the

     6    record this morning is the plaintiffs' motion for summary

     7    judgment and the federal defendants' motion for summary

     8    judgment, which both sides have briefed extensively, so I don't

     9    need to hear a whole lot of argument, but I would like, I guess

    10    we'll start with the plaintiffs.

    11                And I'm curious, the question I first have is what,

    12    what is the actual remedy you're seeking under Count 1?                   What

    13    do you want the Court to do in this case on Count -- as to

    14    Count 1?

    15                MR. GLENN:   Thank you, Your Honor.           As to the ICE

    16    sharing policy?

    17                THE COURT:   Yeah.

    18                MR. GLENN:   The, the Count 1 -- I'm sorry, could you

    19    refresh me, is that -- is Count 1 the --

    20                THE COURT:   I just want to know, again, this is a

    21    very difficult and complicated case because we're dealing --

    22    and my greatest concern is with minors.           I know there's also an

    23    issue about, you know, the family members' rights to family

    24    unification and having access to these children, but the real

    25    concern, and it should be for everybody in this case, is how




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     1    these unaccompanied minor children are being handled, and I

     2    don't -- I don't think anyone disputes the fact that it's not

     3    in these children's best interest for them to be held in ORR

     4    custody any longer than necessary.         I mean, that's a

     5    fundamental everybody agrees on.

     6                And the second fundamental that everybody agrees on

     7    or should agree upon is that the placement of these children is

     8    a very serious responsibility that the government has, and it

     9    has to make sure that wherever the children are placed is a

    10    safe environment.     I don't think anyone disputes that.               And

    11    that should be the core and sole interest of the federal

    12    defendants in this process.

    13                And so what you have done in your case -- and this

    14    case, of course, has been morphing because the government's

    15    been changing the policy and even some of the legislation now

    16    has changed some of the original problems that existed when

    17    this case was first filed.      So it's a case that has been

    18    constantly morphing, but we're at this point now where both

    19    sides are asking the Court, you know, to either end the

    20    litigation or significantly reduce the amount of issues that

    21    would have to go forward to litigation.

    22                And so, you know, in looking at the situation, if the

    23    plaintiff could get exactly what the plaintiffs want, what is

    24    it you want out of this litigation?

    25                MR. GLENN:   Yes, Your Honor.        The plaintiffs seek to




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     1    have the ICE sharing policy set aside for failure to follow

     2    notice and comment as being contrary to law.

     3                THE COURT:    And by that you mean you don't want ORR

     4    having anything to do with ICE?        Is that what you're asking, no

     5    communication with ICE whatsoever about this process?

     6                MR. GLENN:    No, Your Honor.      We're referring to

     7    specific portions of the MOAs; that's particularly section 5.

     8                THE COURT:    All right.

     9                MR. GLENN:    And then the ORR guide at section 2.5.

    10                THE COURT:    All right.    And specifically, what do you

    11    want the Court to tell the government it can no longer do?

    12                MR. GLENN:    We want the Court to tell them that they

    13    can no longer enforce those provisions, that they're set aside.

    14                THE COURT:    All right.    And that, that is what you're

    15    seeking in this case?

    16                MR. GLENN:    Yes, Your Honor.

    17                THE COURT:    All right.    Let me have the government

    18    respond to that.     And that is, specifically if, if you are not

    19    permitted to interact with ICE in that respect, to what extent

    20    does that limit your ability to safely vet the custodial

    21    situations for these minors?

    22                MS. YANG:    Yes, Your Honor.      With respect to the

    23    coordination between ORR and D HS, that coordination, as Your

    24    Honor is aware, goes back many years and is expressly permitted

    25    in the TVPRA, which contains an express provision that says




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     1    that when ORR makes a request for information that it can use

     2    in the sponsor assessability assessment process, DHS must by

     3    statute provide that information.

     4                So our position is that it's not appropriate to, to

     5    prohibit ORR and DHS from sharing information about sponsors

     6    because that is the very type of coordination that's

     7    contemplated by the statute.

     8                THE COURT:    Now, as I understand it, the current

     9    state of legislation prohibits DHS from using any of that

    10    information; that is, they've been contacted by ORR to check

    11    out a particular individual or group of people; and as I

    12    understand, the current legislation prohibits DHS from then

    13    saying, oh, we can now look at this person, and if their status

    14    is illegal, we can take action against them.

    15                MS. YANG:    That's correct.

    16                THE COURT:    Do I understand --

    17                MS. YANG:    That's correct, Your Honor.

    18                THE COURT:    But I also understand that's simply a

    19    statute that's going to expire, I believe, in November of this

    20    year.

    21                MS. YANG:    No, Your Honor.      Just yesterday, Congress

    22    passed another continuing resolution.

    23                THE COURT:    For 30 days.

    24                MS. YANG:    For another 30 days, so that brings us to

    25    the end of December.     And to the point of the continuing




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     1    resolution being, you know, having a temporal scope, the fact

     2    that there is a temporal scope doesn't make it any less of a

     3    statute.    Fourth Circuit authority is clear that even an

     4    appropriations rider is still a full-blown statute, and so long

     5    as it remains in effect, that a separate aspect -- the

     6    legislation is a separate legislative activity in addition to

     7    the agency action that has really removed the issue from being

     8    a live one.

     9                THE COURT:    But as you know, I mean, the, the

    10    plaintiff has pointed to and I'm certainly very much aware of

    11    the Fourth Circuit's Porter decision which goes to this issue

    12    about, you know, whether -- the fact that a government entity

    13    has changed a practice that would otherwise be problematic

    14    doesn't necessarily mean that the issue is moot unless there is

    15    some kind of a guarantee or a very clear acknowledgement by the

    16    government that it's not going to engage in such conduct in the

    17    future.

    18                What do we have in this record that would indicate to

    19    the Court that the government has taken a position which would

    20    strongly indicate that there's not going to be a change in this

    21    policy prohibiting the DHS from using any of this information

    22    to enforce the immigration laws?

    23                MS. YANG:    Yes, Your Honor.      And I think in this

    24    respect, it's important to consider both pieces of the MOA that

    25    was originally challenged in this case.           As Your Honor is




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     1    aware, it contained both a fingerprinting requirement and then

     2    also the separate information-sharing piece.

     3                The fingerprinting requirement is that which is

     4    solely within the control of, of HHS, of ORR, and in that

     5    respect, that policy has been rescinded for nearly a year at

     6    this point.    ORR has rearranged its program operations around

     7    that change.    ORR's director and leadership have given sworn

     8    testimony to Congress stating that they are in support of those

     9    operational directives that made the change.              They have

    10    indicated that they have no foreseeable intent of returning to

    11    that fingerprint policy.

    12                Counsel through our papers and here today, we are

    13    making our presentation to the Court that ORR has no

    14    foreseeable intent of returning to those policies.                In addition

    15    to that agency action, Congress also has legislated that ORR is

    16    not permitted to use any of its funds to rescind any of those

    17    operational directives on its own.         So that's the

    18    fingerprinting piece.

    19                With respect to the information-sharing piece,

    20    there's nothing that ORR can do to control the way that DHS

    21    uses information, but the legislature has -- and as I noted

    22    before, Congress has placed restrictions on the ability of DHS

    23    to use that information for immigration enforcement.                 So I

    24    think --

    25                THE COURT:   But that's only in place through the end




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      1    of December.

      2               MS. YANG:    That's correct; however, any future

      3    appropriations activity that -- any future restrictions that

      4    Congress places on the appropriations that they, that they

      5    provide and authorize for DHS, firstly, there's been no

      6    indication that Congress would, would go back to -- would

      7    remove the restrictions that they have so far imposed on DHS,

      8    and it's, it's really going down the precarious path of

      9    speculating about what the legislature might do, but in this

     10    respect, I think there are a few things that make this case

     11    different from the Porter case.

     12               One of them is this, this additional element of

     13    legislative action that additionally moves the issue beyond

     14    just what the agency itself --

     15               THE COURT:    All right, let me ask you about that

     16    legislative action.     Was there any vigorous discussion of this

     17    element of information sharing during the course of that

     18    statute being enacted, in other words, within either the

     19    congressional debates?     Was the issue clearly before the

     20    legislators so that we can look at this legislation as truly

     21    reflecting a reasoned consideration of the issue, or was it one

     22    of these things, as we all know with federal legislation,

     23    frequently there are little riders and little attachments that

     24    practically no one has read and it gets passed and now that's

     25    the law but no one really thought about it?




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      1                 What do we have in the record indicating that this

      2    was an issue that was significantly discussed, thought about,

      3    and therefore one can say was, you know, seriously intended as

      4    expressing congressional will?

      5                 MS. YANG:    I think we have the testimony involving

      6    both DHS as well as HHS before the House Appropriations

      7    Committee.    In fact, I believe that testimony at least by DHS

      8    was one that the plaintiffs attached as an exhibit to their, to

      9    their papers in which the information-sharing piece and the

     10    alleged fears of immigration enforcement were discussed

     11    extensively.

     12                 I also know that at least on behalf of HHS, its

     13    director and its leadership have also participated in hearings

     14    before the Appropriations Committee.          That also occurred in

     15    July of this year.

     16                 THE COURT:    And how was the vote?        Was it unanimous

     17    or was there -- was it one of these close votes?

     18                 MS. YANG:    I'm not sure, Your Honor.

     19                 THE COURT:    Does anybody know how the vote was on

     20    that piece of legislation?      My understanding is on the

     21    continuing resolution, it was not unanimous.              In fact, I think

     22    it was a smaller margin than it has been in the past.                  Am I

     23    correct about that, that there were a fair number of dissenting

     24    votes?

     25                 MS. WOLOZIN:    I don't know the exact count --




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      1               THE COURT:    Up --

      2               MS. WOLOZIN:    I'm sorry.     I don't know the exact

      3    count, Your Honor, but I do know it wasn't unanimous enactment,

      4    and as to the continuing resolution, I'm not aware --

      5               THE COURT:    All right.

      6               MS. WOLOZIN:    -- but when it was initially placed.

      7               THE COURT:    All right, go ahead.

      8               MS. YANG:    There are a few other elements that I

      9    wanted to discuss in which this case is different from that in

     10    Porter, and one of them is, as I mentioned, the additional

     11    piece of the legislative activity that separately missed the

     12    issue, but a second one is that in Porter, the issue was the

     13    underlying constitutionality of previous conditions of

     14    confinement in a prison.

     15               In this case, plaintiffs have never asked the Court

     16    to find that it's unconstitutional in some way to require

     17    fingerprints from sponsors, and I think, candidly, they would

     18    be hard-pressed to do so because every state child welfare case

     19    uses fingerprints in every case.

     20               So, so I think that also is a distinction because

     21    they're not asking that the underlying requirement of providing

     22    fingerprints is somehow unlawful.       So I think that's also a

     23    concern that was animating the court in Porter, where there was

     24    a concern that absent some, some guarantee that the prison

     25    would not return to those conditions, that somehow those




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      1    unconstitutional conditions would return.

      2               And just as a, another note, with respect to

      3    acquiring the injunction that plaintiffs are seeking in this

      4    case, they bear the burden of showing that there's going to be

      5    no significant threat of recurrence.         Our position is that

      6    through the assurances that ORR has made, including the

      7    assurances that counsel has made to this Court and that its

      8    leadership has made to Congress, that ORR has no foreseeable

      9    intent of returning to the fingerprinting policy, which really

     10    just leaves us then at the end of the day with this

     11    information-sharing practice between federal agencies.

     12               And as Your Honor is aware from our briefing, the

     13    Fourth Circuit earlier this year held that information sharing

     14    on its own does not, does not bring any sort of agency action

     15    that is subject to review under the APA, because information is

     16    routinely shared among federal agencies.           That's part of how

     17    the federal government works.

     18               So at the end of the day, our position is that we're

     19    really left with just information sharing and that the Fourth

     20    Circuit has said very squarely that that's not an agency

     21    action.

     22               THE COURT:    But the problem in this particular case

     23    is that the information sharing at least initially when this

     24    case was first filed almost resulted in counterproductivity,

     25    and that is, if the goal of ORR was to get these children




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      1    placed in a -- but by sharing the information without any

      2    restrictions on what Homeland Security could do with the

      3    information, in some cases, the fear was that otherwise

      4    eligible sponsors became ineligible because they were going to

      5    be deported or that they were being intimidated and therefore

      6    not coming forward.

      7               And so the information sharing was actually cutting

      8    against ORR's interest in getting these kids placed, and so I

      9    don't think this is exactly the same as just raw information

     10    sharing.   It doesn't make sense that one agency would be

     11    sharing information that could result in the agency being

     12    frustrated in achieving its goals, and I think that was part of

     13    the problem.

     14               MS. YANG:    I would push back on, on that

     15    characterization, Your Honor, and that's because again, this --

     16    I think this is where the distinction between the fingerprint,

     17    expanded fingerprint policy and the information sharing really

     18    does matter, the distinction really does matter, because what

     19    ORR observed was that there was a correlation certainly between

     20    the amount of time that it took for household members to submit

     21    their fingerprints and that that -- there was a correlation

     22    between that requirement, the fingerprinting requirement, and

     23    the amount of time the children were spending in care.

     24               There was no similar finding in terms of the

     25    information-sharing piece, and as we've learned from discovery,




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      1    there really was no -- the alleged effect of immigration

      2    enforcement deterring sponsors from coming forward really

      3    hasn't been borne out by the discovery in this case both with

      4    respect to the individual sponsor plaintiffs themselves and

      5    their own experiences but also in the undisputed data and the

      6    undisputed expert testimony that's been taken in this case that

      7    hasn't revealed any sort of general deterrence in terms of

      8    sponsors coming forward.

      9               So I think in that respect, it is important to

     10    remember the distinction between the fingerprints and the

     11    information sharing.     The fingerprints, which was the piece

     12    that had a correlation to the increased length of care, that

     13    has long -- no longer been the policy of ORR.               The

     14    information-sharing piece that remains and that is really just

     15    information sharing between federal agencies, as the City of

     16    New York case recognized, really just leaves us without any

     17    real material collateral effect that plaintiffs have been able

     18    to demonstrate.

     19               THE COURT:    All right, thank you.

     20               MS. YANG:    Thank you.

     21               THE COURT:    I'll hear from the plaintiff.

     22               MR. GLENN:    Your Honor, with respect to mootness,

     23    defendants have to show under Porter that there is an

     24    unconditional and irrevocable agreement that they won't return

     25    to the challenged conduct.      They have represented that they




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      1    have no foreseeable intent, and Your Honor can judge what that

      2    means, but it sounds to us like that they keep open the

      3    possibility of returning in the future if circumstances change.

      4               There are a number of factors that show that they,

      5    they do have an intent to resume the conduct.             First is that

      6    the MOA has not been rescinded, even though ORR officials

      7    testified that it should be and ORR has the authority under

      8    section 10 of the MOA to rescind it with 30 days' notice,

      9    without cause, unilaterally.

     10               Second is that pursuant to the MOA, ORR continues to

     11    share fingerprints with ICE in every case where fingerprints

     12    are gathered, even though they are not using those

     13    fingerprints.    That, that is an undisputed fact, 13 in our

     14    plaintiffs' brief, Your Honor.

     15               Another undisputed fact from our brief is that the

     16    operational directives that rolled back some of, some of the

     17    policies were intended to be temporary.          That's undisputed fact

     18    11, Your Honor.

     19               And finally, the funding restrictions are temporary.

     20    They'll expire on December 20.      And Renee v. Duncan is the --

     21    is most instructive on that point, that an appropriations bill

     22    that temporarily constrains the agency action does not moot

     23    that action going forward.

     24               THE COURT:    All right, thank you.

     25               All right, let me see if I have any other questions




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      1    or any other issue that I want to raise.           There has been in the

      2    course of this case some concern about the different categories

      3    of sponsors, and I am curious, I guess this question again is

      4    for the defendants, what's the rationale ORR has used for

      5    providing different levels of notice and appeal rights to

      6    Category 1 versus Category 2 sponsors?

      7               MS. YANG:    Certainly, Your Honor.         The rationale is

      8    that ultimately at the end of the day, constitutional due

      9    process is particularized to the circumstances of the cases,

     10    and in ORR's view and as is reflected in state child welfare

     11    practice, parents have fundamental rights to the upbringing of

     12    their children.    ORR recognizes those rights, and so it's

     13    provided -- in addition to the process that it provides during

     14    the sponsorship application process, ORR has chosen to provide

     15    an additional hearing at the end of that process if a parent is

     16    denied, in full recognition that in state law and in state

     17    jurisdictions, parents are given that fundamental right to

     18    their children.

     19               That same right is not recognized either under

     20    federal standards or state standards with respect to nonparent

     21    relatives; and so the rationale really is first that, that

     22    there's a difference in the rights, in the legal protections

     23    that are available for parents versus nonparents; and secondly,

     24    that when you start expanding constitutional due process out in

     25    this manner, that increases the burden on the agency.




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      1               As Your Honor is familiar from our papers, the way

      2    that these hearings are conducted is that the assistant

      3    secretary of Health and Human Services presides over the

      4    hearing, and the individual federal field specialist who made

      5    the decision in the case appears and testifies and basically

      6    explains why he or she made the decisions that they did.

      7               By expanding these types of hearings out to

      8    categories of relatives or other adults who in state, in state

      9    law don't have the same recognized right imposes an additional

     10    burden on ORR by taking resources away from those FFSs who

     11    continue to have the same caseloads, continue to need to review

     12    individual cases, make release decisions, consult with the case

     13    managers who are handling those cases, and by taking their

     14    attention away from those individual cases to testify in

     15    hearings, we don't believe actually serves the interests of

     16    either the program or the children who ORR is trying to place

     17    safely with sponsors.

     18               THE COURT:    All right.    Do you want to respond to

     19    that?

     20               MS. WOLOZIN:    Yes, Your Honor.

     21               THE COURT:    Yes.

     22               MS. WOLOZIN:    First of all, as a matter of fact shown

     23    in our evidence, there have been absolutely no appeals under

     24    the current process, and so the argument that it is overly

     25    burdensome is based on some hypothetical that has actually




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      1    never taken place, because a Category 1 sponsor has never

      2    either had the inclination or opportunity to take advantage of

      3    that appeals process, and part of the reason that that is the

      4    case is because ORR argues that it should have unlimited

      5    discretion in the scope of its investigations and in the time

      6    it takes to conduct those investigations, and that only when it

      7    decides it has a final decision are there any procedures

      8    available even to a Category 1 sponsor.

      9               THE COURT:    Okay.

     10               MS. WOLOZIN:    A second brief note, Your Honor, is

     11    that while there may be a difference between a Category 1 and

     12    Category 2 sponsors in terms of the weight of the

     13    constitutional interest, the child certainly has an equally

     14    strong interest in liberty, regardless of whether it is a

     15    Category 1 or a Category 2 sponsor, and so there's not a good

     16    rationale for only providing process to those whose parents

     17    happen to be the ones that are trying to get them out.

     18               THE COURT:    All right.    Now, the bottom line, though,

     19    appears to be from the evidence you-all have presented, is that

     20    the time in which the children are being kept in ORR custody

     21    has significantly decreased and is now, as I understand it,

     22    well under even the 60 days, which was considered sort of the

     23    rational limit.    Everybody originally felt more than 60 days

     24    was not good, and I think it's down to, what, 30 or 40.                  I

     25    mean, it's down significantly.




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      1               I want to see what -- how you respond to that in

      2    terms of whether or not the plaintiffs, by having initially

      3    filed this lawsuit, have not actually achieved essentially what

      4    you really were trying to get, which was a shortened time

      5    period.

      6               MS. WOLOZIN:    Your Honor, this lawsuit is about the

      7    children who are not released within that time frame.                 We're

      8    very happy that more children are being released faster;

      9    however, 20 percent of the population by defendants' own data

     10    are not released within 60 days; and for those children who are

     11    not released within that time frame, even excluding -- using

     12    the class list, even excluding those in federal foster care,

     13    their average time in custody is 172 days; and due process is

     14    to protect those children in the difficult cases where they are

     15    having to wallow in custody waiting for decisions, where

     16    there's just no process to protect them once very weighty

     17    constitutional interests come into play.

     18               We also included, I forget exactly which exhibit, but

     19    for children in custody over 50 days, which was another metric

     20    we found ORR tracks through discovery, those children likewise

     21    had an average time in custody over 100 days.

     22               And so for the children, the 20 percent of children

     23    that are in ORR custody, they are nowhere near the 30-day total

     24    population goal, and some of them -- many of them, as we've

     25    shown through the certified class, have Category 1 or




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      1    Category 2 sponsors.

      2               And it's especially for those children who are stuck

      3    where it's not going smoothly, where procedural due process

      4    rights are so important and it is so important to protect their

      5    rights and their families' rights.

      6               THE COURT:    All right.    I want to hear a response to

      7    that.

      8               MS. YANG:    As Your Honor noted, the average length of

      9    care for children in the many months before today has gone down

     10    significantly.    Now, plaintiffs point to the 20 percent across

     11    the program, I should note, that do remain in care for more

     12    than 60 days, and really, I think, I think this argument rests

     13    on at least one fundamental incorrect assumption, which is that

     14    that amount of time is attributable to ORR, in other words,

     15    that ORR has caused that deprivation, but as we've argued in

     16    our papers and as we've supported with the exhibits attached to

     17    our papers, ORR is not -- there cannot be a bright line rule

     18    that says ORR is responsible for -- is solely responsible for

     19    the amount of time that children spend in care.

     20               If I could give a few examples that maybe would

     21    demonstrate this to the Court, the way that plaintiffs define

     22    the issue would include -- would reach the conclusion that ORR

     23    has deprived the due process rights for a child who is in ORR

     24    custody for 59 days and then on day 60 identifies a sponsor.

     25               Under that -- under those sets of circumstances, they




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      1    would still be included in the class as it's been defined in

      2    this case, but I don't think that the conclusion could follow

      3    that ORR has deprived them of any procedural due process.

      4                 Similarly, we have instances from the plaintiffs in

      5    this -- the named plaintiffs in this case as well as the absent

      6    class members where a child has identified a sponsor who

      7    initially says they will apply but then they become

      8    nonresponsive or they become nonresponsive for a certain period

      9    of time, and during that time, ORR reaches out to them, follows

     10    up to them, tries to get them to participate, but for whatever

     11    reason, and it can be entirely benign, life getting in the way,

     12    any other number of reasons, the sponsor chooses either not to

     13    respond or removes themselves from the process.              Again, in that

     14    circumstance, I don't think the conclusion can follow that ORR

     15    has somehow deprived the child of due process.

     16                 So I think that's one very fundamental element that's

     17    been glossed over in the briefing, but it is significant in

     18    terms of figuring out whether ORR has caused a deprivation in

     19    any sense.

     20                 THE COURT:   All right, thank you.

     21                 Did you want to respond to that?

     22                 MS. WOLOZIN:   Yes, Your Honor.       First, I would note

     23    that in terms of the named plaintiffs, all sponsors came

     24    forward nearly immediately, and this is one -- this sort of

     25    disappearing or nonresponsiveness is one way in which all of




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      1    the counts in this case are intertwined because many of the

      2    examples that defendants are referring to were resulting from

      3    fear generated by the ICE sharing policy, and so sponsors were

      4    unable to complete sponsorship applications or unable to

      5    convince household members to complete them, and so I wanted to

      6    flag for the Court that these are interrelated.

      7               Second, at defendants' insistence, we included a

      8    hypothetical remedy to show that it is possible to account for

      9    these variations in families and for variations in sponsor

     10    responsiveness, and so I'll note that in our example, we noted

     11    perhaps a hearing would only be available to sponsors who have

     12    completed a sponsorship reunification packet.             In that case, if

     13    a sponsor comes forward on day 59 and has not yet submitted a

     14    sponsor reunification packet, in this hypothetical, there

     15    wouldn't be a hearing.

     16               And so while defendants are best placed to determine

     17    the proper procedure, we offer that example as a way to show

     18    that there are ways to target relief within their procedural

     19    designs specifically to the situations in which there is a very

     20    strong interest and right to be heard and protected.

     21               THE COURT:    All right.

     22               MS. YANG:    Your Honor, may I very quickly --

     23               THE COURT:    Yes, ma'am, go ahead.

     24               MS. YANG:    Thank you, Your Honor.         And I'll very

     25    quickly just note that plaintiffs' response just now indicated




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      1    that the reason the names -- the named sponsor plaintiffs

      2    delayed in providing information was because of fears of

      3    immigration enforcement.     Respectfully, Your Honor, as we've

      4    laid out in our papers, the evidence -- their testimony at

      5    deposition under oath does not support that fact.               So I wanted

      6    to point that out.

      7               I will be the first to admit that there are some

      8    cases where there are household members who do not want to be

      9    fingerprinted.    Again, the fingerprinting and the threat of --

     10    or the fear of immigration enforcement are separate, and as

     11    we've laid out in our papers, there's been no specific showing

     12    that any, any fears of immigration enforcement were

     13    specifically due to the issues that are, that are challenged in

     14    this particular case.

     15               THE COURT:    All right.    Well, obviously, we're going

     16    to take this matter under advisement.         These are serious issues

     17    in these motions, and the record is fairly dense.

     18               I would be interested, though, since it happened

     19    yesterday and that was not in either of your briefs, both sides

     20    are invited to provide the Court with more data, information

     21    about what went on with any discussions in the continuing

     22    resolution, and in particular, I am concerned because the

     23    mootness issue is, I think, a significant issue in this case.

     24    It certainly is significantly argued by the defendants.

     25               And it is a strange situation where we have, you




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      1    know, the -- you can't predict what Congress is going to do,

      2    and obviously, the political environment keeps shifting.                     It

      3    may be very different in a year one way or the other, and so we

      4    have to look at this case very carefully.              But I would be

      5    interested in seeing what at least the current discussion of

      6    this issue is on the legislative level, and so since we just

      7    had action yesterday, I would be interested in that, all right?

      8                 Nothing further then, we'll recess court.

      9                 MR. SANDOVAL-MOSHENBERG:        Your Honor?

     10                 MR. BARGHAAN:   Your Honor?

     11                 THE COURT:   Yes, Mr. Barghaan?          Was there a question?

     12                 MR. BARGHAAN:   I was going to ask exactly the same

     13    thing, so --

     14                 THE COURT:   In terms of time?

     15                 MR. BARGHAAN:   May we have two weeks from today to

     16    file?

     17                 THE COURT:   Yes.    14 days from today, yes, 14 days.

     18    Congress may do something in the interim, too, so be careful.

     19                 All right, we'll recess court until 11:00.

     20                                 (Which were all the proceedings

     21                                     had at this time.)

     22                         CERTIFICATE OF THE REPORTER

     23            I certify that the foregoing is a correct transcript of

     24    the record of proceedings in the above-entitled matter.

     25                                                      /s/
                                                      Anneliese J. Thomson



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